                  Case 2:15-cr-00164-TLN Document 89 Filed 10/11/17 Page 1 of 3

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 3   Sacramento, CA 95814
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 4   Fax: (916) 443-9501
 5
     Attorney for Defendant
 6   OSCAR GONZALEZ
 7
 8
                                    UNITED STATES DISTRICT COURT
 9
                                   EASTERN DISTRICT OF CALIFORNIA
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     UNITED STATES OF AMERICA,                          )       Case No.: 2:15-CR-00164-TLN
12                                                      )
                                       Plaintiff,       )       STIPULATION AND ORDER TO
13                                                      )       CONTINUE SENTENCING
14           v.                                         )       HEARING
                                                        )
15                                                      )       DATE:         October 12, 2017
                                                        )       TIME:         9:30 a.m.
16                                                      )       COURT:        Hon Troy L. Nunley
     OSCAR GONZALEZ,                                    )
17                                                      )
                    Defendant.                          )
18                                                      )
                                                        )
19                                                      )

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21
22           IT IS HEREBY STIPULATED by and between Plaintiff, UNITED STATES OF AMERICA,

23   and its attorney of record, Ross K. Naughton, Assistant United States Attorney; and Defendant OSCAR

24   GONZALEZ, and his attorney of record, Jesse Ortiz, that the Sentencing Hearing presently set for
     October 12, 2017 at 9:30 a.m., in Courtroom 2 of the United States District Court, Eastern District, be
25
     continued to October 26, 2017, at 9:30 a.m., in Courtroom 2, of the United States District Court, Eastern
26
     District.
27
             SO STIPULATED.
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              Case 2:15-cr-00164-TLN Document 89 Filed 10/11/17 Page 2 of 3

 1
     Dated: October 10, 2017                   __/s/ Jesse Ortiz_________________
 2                                             Jesse Ortiz
 3                                             Jesse Ortiz Law
                                               Attorney for Defendant Oscar Gonzalez
 4
 5   Dated: October 10, 2017                   __/s/ Ross K. Naughton           ______
                                               Ross K. Naughton
 6
                                               Assistant United States Attorney
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 1                                                    ORDER
 2          IT IS HEREBY ORDERED that the Sentencing Hearing presently set for October 12, 2017 at

 3   9:30 a.m., in Courtroom 2 of the United States District Court, Eastern District, is continued to October
     26, 2017, at 9:30 a.m., in Courtroom 2, of the United States District Court, Eastern District.
 4
 5
     DATED: October 10, 2-17
 6
 7                                                                ________________________________
 8                                                                Hon. Troy L. Nunley
                                                                  United States District Judge
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